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Delbert Jenkins |
4004 Saint Andrews Dr. |
Rio Rancho, NM 87124 |

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UNITEI) STATES I)ISTRICT CoURT;i ;;~_ f f , `

F()R THE DISTRICT OF NEW MEXIC(`§“"“ ~f»»»-fm

|
DELBERT JENKINS, Plaintiff CASE NO. l l" @Q" q 11

 

STATE OF NEW MEXICO
])EPARTMENT OF CORRECTIONS,

Charlene Knipfing,
(l)irector of Probation & Parole)

MICHAEL ESTRADA, CIVIL RIGHTS COMPLAINT
(Program Manager) PURSUANT TO 42 U.S.C.§1983
BARBARA ROMERO,
(Program Supervisor)

, Defendants

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JURISDICTION

1) Delbert Jenkins , is a citizen ofNeW Mexic-o Who_presently resides at
(P]aintiff) (State)

4004 Saint Andrews Dr., Rio Rancho, NM 87124.
(Ma_iling address)

 

 

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2) Defendant: State of NeW Mexico, Department of Corrections, at an

entity of the State of NeW Mexico. The entity is located att 4337 State Road

14, Santa Fe, NM 87508 / P.O. BoX 27116, Santa Fe, NM 87502-0116 .
(Physical & Mailing address)

3) Defendant: Charlene Kni[gfing1 is a citizen of Albuguergue, NeW
Mexico and is employed as State ofNeW Mexico, Department of

Corrections, Director of Probation and Parole Department. At the time the
claims alleged in this complaint arose, Was this defendant acting under color
of state law? YES [X] NO [_]

 

If our answer is “Yes”, briefl ex lain:
Y

Defendant has admitted in statement and in Writing on numerous occasions
that she Was acting in her official capacity With the State of New Mexico, for
the Department of Corrections. Defendant also states that she Was acting
under the State ofNeW Mexico Department of Corrections Directives and
best interest and With said department

4) Defendant: Michael Estrada2 is a citizen of Albuquerque, NeW Mexico,
and is employed as Proiec-t and Program Manager. At the time the claims
alleged in this complaint arose, Was this defendant acting under color of state
laW? YES [§] NO [W]

lf your answer is “Yes”, briefly explain:

Defendant has admitted in statement and in Writing on numerous occasions
that he Was acting in his official capacity With the State of New Mexico, for
the Department of Correct_ions. Defendant also states that he Was acting
under the State of NeW l\/lexico Department of Corrections Directives and
best interest and With said department `

5) Defendant: Barbara Romeroz is a citizen of` Los Lunas, NeW Mexico,
and is employed as Program Supervisor & Plaintiff’ s immediate Supervisor.

 

 

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At the time the claims alleged in this complaint arose, was this defendant
acting under color of state law? YES [§] ` NO [J

If your answer is “Yes”, briefly explain:

Defendant has admitted in statement and in writing on numerous occasions
that she was acting in his official capacity with the State of New Mexico, for
the Department of Corrections. Defendant also states that she was acting
under the State ofNew l\/[exico Department of Corrections Directives and
best interest and with said department

6) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3), 42 U.S.C.
§1983.

NATURE OF THE CASE

1) Background of the case:

In September of 2008, Plaintiff applied for a Fugitive Apprehension Officer, with the
Probation and Parole Department, under the Department of Corrections. After applying
online and interviewing and sending in copies of his training credentials, Plaintiff was
advised that he would hear the results before the months close. On or about October 20,
2008. Plaintiff was hired by Elsie Duran, Regional Manager for the Department of
Corrections, Probation & Parole Department as a Fugitive Apprehension Officer.
Plaintif`f was advised cfa November l4, 2008, start date at a swing shift position, at a pay
rate of $l 8+ per hour.

On November lO, 2008, Plaintiff was advised by Elsie Duran that after being

hired the Department of Corrections and her supervisors now had issue with his

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“qualifications.” Ms. Duran stated that the Department of Corrections had now changed
the pre-requisites for the Fugitive Apprehension Officer, apparently applicable to
Plaintiff" s application only. The State of New Mexico was now requiring that Piaintiff
have current “New Mexico Department of Corrections Firearms certification,” instead of
a “State issued Firearms Certification, “ as advertised, which Plaintiff held and had been
awarded the position. Plaintiff reminded l\/ls. Duran that the advertising for the position
and none of the paperwork conc-eming the position ever mentioned that requirement
Plaintiff also advised Ms. Durant that he had already given two weeks notice to his
current employer. Ms. Duran informed Plaintiff that the new requirement came from
“higher up in the department” the only position Higher up in the Department was held by
Charlene Knipfing.

Subsequently Plaintiff was contacted on Thursday, November l3, 2008, {the day
before previous state date} and advised that he was not going to be allowed to start the
position. Ms. Duran offered an alternative option in which Plaintiff would work as a
regular probation officer for a year at a pay rate of $14, and in a few months could take
the Department of Corrections basic training, and then the Department of Corrections
Firearms training course Ms. Duran stated that at that time Plaintiff would be eligible
for any Fugitive Apprehension Officer positions_ Plaintiff agreed with reservations and
objections work in that position, as long as he would be allowed to pursue the path to the
position for which he was originally hired. This was agreed to by Ms. Duran and by
Plaintiff"s immediate supervisor Barbara Romero and the Program Manager Michael

Estrada. This was the first instance of discrimination received by Plaintiff lt was later

   

 

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discovered that the new “Firearm requirement” was not required of the White or Hispanic
officers that were hired at the same time as Plaintiff

The issues of discrimination, hostile work environment, harassment, disparaging
treatment, and abusive treatment, continued constantly from that time until Plaintiff` s
termination in November of 2009.

Plaintiff became immediately aware that there was some tension or apprehension
upon meeting with l\/Ir. Estrada and Ms. Romero. Initially, Plaintiff thought this might
me normal, since he had not interviewed with either Ms. Romero or Mr. Estrada, and it
was even questionable that they had even seen his resume However, Plaintiff also
immediately noticed that his Hispanic, female, Co-worker hired on the same day, Erlinda
Flansaas, had an immediately friendly interactive experience with Supervisor Romero at
that initial meeting

The disparity of treatment between treatment of older, African American, male
employee, ( Delbert Jenkins) and other employees within the New l\/lexico Men’s
Recovery / Ft. Stanton division was direct and unambiguous From the first week of
employment Plaintiff noticed that he was being treated differently than his co-workers
who were young, Hispanic, females and not forty-five year old, African American, male
as Plaintiff. The incidents are far too numerous to mention each and every instance at
this juncture, however the behavior continued the entire length of his employment with
the State of New Mexico, Department of Correc-tions. The treatment received by Plaintiff
ranged from Sex Based Harassment; Discrimination based on Race and Age; a Disparity
of Treatment between Plaintiff and similarly situation employees; which created an

Abusive and I-Iostile work environment This behavior continued until Plaintiff was

 

 

 

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terminated under secret and false pretenses eleven and one half months later in November

of 2009.

CAUSE OF ACTION

Plaintiff alleges that the following of his constitutional rights, privileges or
immunities have been violated and that the following facts form the basis for his

allegations:

A) (1) Count I: Race/Color Discrimination

Race discrimination by the State of New Mexico_, Department of Corrections
involved treating the Plaintiff unfavorany because his African American heritage or race
or based on color discrimination involves the unfair treatment of the Plaintiff because of
his black skin color complexion

The race/color discrimination in this case involved treating Plaintiff unfavorany
during the hiring, firing, pay, job assignments, promotions, training, fringe benefits, and
several other condition of employment

The harassment included: racial slurs, offensive or derogatory remarks about
Plaintiff`s race or color, and the display of racially-offensive symbols The frequency
and severity created a hostile and offensive work environment and ultimately led to

Plaintiff s termination

 

 

 

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(2) Supporting Facts:

ln an effort to make an initial prima fascia case concerning discrimination, the
following facts are offered in summation Plaintiff started employment on the same date
as a Hispanic female who was substantially younger than him. Plaintiff and Co-worker
were hired for the same position with the State of New l\/lexico, Department of
Corrections, Probation and Parole Department, with Special Programs under the direction
of Michael Estrada with Treatment Programs under the direct supervision of Barbara
Romero.

One of the main elements of discrimination was the disparate treatment that
Plaintiff received from his immediate supervisor, which was completely discriminatory
and debilitating to his employment with the State of Newl Mexico. To list just a few of
the items that differed from Plaintiff and his co-worker Erlinda Flansaas; Plaintiff was
never trained for his position; his co-worker was trained by their immediate supervisor
and our lead officer; while Plaintiff was sent on errands, to other offices, or mandatory
separate lunch breaks, and assigned other duties while these training were being
conducted His co-worker received a state issued: vehicle, phone, laptop, desk, office,
etc.; while Plaintiff received none of these items. Moreover, Plaintiff was required to
borrow other Probation offices’ state vehicles, use his personal phone, travel up to 50l
miles to use an office, did not have a computer or even a desk at his disposal for nearly
eleven months. ln addition, Plaintiff was required to travel alone and deal with nearly
100 offenders at a site several hundred miles from his base office at Fort Stanton by
himself with out the benefit of officer back-up; while his co-workers work and travel in

pairs. ln addition, Plaintiff was required to handle not only a double case load, but at

 

 

 

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times a triple case load for several months, {for an officer who was on maternity leave in
Bernalillo}, while Plaintiff was still assigned to the Los Lunas Office and handling entire
case load for the Fort Stanton program, this resulted in a case load of approximately 180
offenders. Furthermore, Plaintiff was required to: make files, review application packets,
run background NCIC checks, issue travel permits, enter case notes, enter payment of
their fees and fines, provide counseling, coordinate their mental and physical healthcare
treatment and issues', deal with disciplinary issues, search rooms, conduct investigations,
issue drug tests and alcohol tests, coordinate interstate transfers, issue warrants on
escapees, contact and coordinate with area law enforcement on manhunts, supervise
vehicle maintenance and repairs for our division, etc. all by himself; while his co-workers
had the assistance of other officers, the supervisor, and support staff of other divisions to
assist them in some of these duties. The typical workload of his co-workers was
approximately 30 to 60 offenders, while his case load carried from 90 up to @180
offenders While Plaintiff carried double and sometimes triple the caseload, his l-lispanic
/ younger counterpart1 was allowed to miss deadlines, fall thirty to sixty or more days
behind in entering case notes without being discipline or having any consequence; while
Plaintiff was disciplined and ultimately terminated for not entering the above listed items
in the system within 48 hours. This remained unbeknownst to him until Plaintiff
discovered several instances when cases were transferred to him from his co-workers and
they lacked the attention to detail and timeliness of entries to the standard for which

Plaintiff was being held and then placed on a Performance lmprovement Plan.

 

 

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In response to the immense workload, Plaintiff volunteered to work during lunch, come
in early to work at the office, or work when he should have been off duty so that he could
use a computer or borrow a desk and computer when his co-workers were not using them.
Each of these attempts to keep the work timely and of maximum quality_, were blocked by
his supervisor Barbara Romero. Plaintiff’ s supervisor ordered him in writing to take
lunch breaks for a full hour, outside the office; she ordered Plaintiff not to come in'early
on his own time and even demanded his key to the office; and she issued a written
reprimand, because he had volunteered to work for free on his own time off.

ln fact many of the positive and successful duties that Plaintiff performed for the
state were turned into negatives and later used for his termination For example, when
the Women’s treatment Ceriter was shorthanded with counselors and teachers Plaintiff
was approached by the Program Director to teach a “Life`Skills” course for the students
Plaintiff received approval from his immediate supervisor, Barbara Roniero and from the
Program Manager, Michael Estrada to teach the class. Plaintiff did all of the preparations
and work associated with the class on his own time. Plaintiff purchased class materials
out of his own pocket at a second hand store for the students to use since they had none
available at the programl Plaintiff was ultimately released in part for such things as
donating 552 worth of study materials to a program for these students for group use in a
class, that his supervisor and her supervisor approved me teaching, only to have his
supervisor claim that he was pursuing undue favor and familiarity with the offenders

ln another example, Plaintiff was tasked with handling the entire Fort Stanton
program by himself as the division was short of several officers. This required Plaintiff

to travel alone to Fort Stanton, deal with all issue alone and make decisions conc-eming

 

 

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the program on his own concerning travel permits Plaintiff performed the duties as
assigned: but was subsequently given two reprimands for issue travel permits on one day;
while he had issued hundred during the previous nine months, with his supervisor’s
knowledge Moreover, even in that reprimand Ms. Romero cites to a department policy
that requires supervisor approval for out of state travel. These permits were for in state
travel, and Plaintiff had followed the policy to the letter and still received a reprimand

During the academy, Plaintiff made several inquires to the Department of
Corrections` Basic Training Academy lnstructors of howlto handle various officer safety
issues when in a situation by himself They informed me that it should be rare that
Plaintiff would be handling these types of issues by himself When Plaintiff informed
them that he did so regularly due to his situation they gave Plaintiff certain approaches to
protecting himself and minimizing escalation of hazardous situations Plaintiff acted as
instructed in the Academy by the staff and instructors When asked to take a hostile
offender in custody during an escalating situation he placed offender in handcuffs for
officer safety', Plaintiff received a “Secret Reprimand” for doing so in violation of
Department Policy.

As an additional example, his supervisor, Barbara Romero placed Plaintiff on an
extensive Performance lmprovement Plan which listed dozens of requirements all of
which he met, except for a requirement that she added the final week of a 90 day plan,
which required Plaintiff to enter follow-up, follow-up notes concerning offenders,
medical treatment notes, diagnosis notes and other private medical information which
could only be gathered from doctors and other healthcare providers who refused to

provide such, under HIPAA rule and guidelines. This was the only unmet item in his

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Performance lmprovement Plan or the only negative comment in his final Employee
Evaluation prior to his termination

Finally, one of the most consistently positive statements by his Supervisor and
from the Program Director was his extremely professional, respectful and polite manner
with the program offenders during his entire tenure with the State ofNew l\/lexico, and
was listed in all of his E-mployee Evaluations. Again a positive was turned into a
negative when a supposed incident occurred that alleged that Plaintiff had cursed out an
offender and his family. Again this was via a c‘secret reprimand,” which also lent to his
termination There are only statements from his supervisor about what witnesses stated
and NO Direct statements from any witness or victims Only the statements from his
Supervisor, Barbara Romero, which consist only of second hand information created
weeks or months later. Moreover, after this incident supposedly happenedJ Plaintiff was
called several times on his personal cell phone by the alleged victim and his family on the
same night this supposedly occurred (Documented by cell phone records) Additionally,
offender who was allegedly verbally abused never made a statement, was later arrested
by his Ms. Romero and sent back to prison During his probation violation hearing, his
attorney subpoenaed Plaintiff and his supervisor to the hearing. l\/ls Romero failed to
appear herself and refused to send Plaintiff the subpoena with the excuse that she did not
have his contact information Plaintiff subsequently received a forwarded pay stub that
same week sent to his address from Barbara Rornero. ln contrast, his co-worker,
Erlinda Flansaas, has been extensively documented in her use of profane insults,
screaming and cursing fits to both male and female offenders and she was used by his

supervisor to intimidate and control the population Despite the numerous complaints

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made by offenders, counselors, staff, and by me to our mutual supervisor, she was
commended and praised for her abusive behavior while Plaintiff was ultimately
terminated

At the time of termination, Plaintiff was aged 43; with nearly 30 years of
exemplary employment history with numerous government and private entities Plaintiff
has never been terminated or received a written reprimand Other supervisors in the
Department of Corrections and Probation & Parole division commented regularly on his
work ethic and excellent people and professional skills The only negative contact or
opinion of Plaintiff was his immediate supervisor, Barbara Romero and her supervisor
and Program Director, l\/lichael Estrada, and Charlene Knipfing, the Director of the
Department

The above constitutes a summary of the discrimination and disparaging treatment
Plaintiff received during his tenure at the Department of Corrections. Plaintiff was
ultimately replaced by a Hispanic, male aged approximately 26 years old. His co-worker
at the time of employment was Erlinda Flansaas_, a Hispanic, female aged approximately
29 years old Also hired during his term of employment was Faye Gillespie, a Hispanic /
l\lative American, female aged in her late twenties; all stand as support for these

assertions

B) (1) Count II: Discriminatory Working Conditions
ln addition to the discriminatory working conditions or a Hostile work
environment based on other situations Case in point, Plaintiff referrers to the

tremendous and uneven workload and with the lack of tools and resources provided to

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deal with this disproportionately heavy workload that only he was forced to carry.
Plaintiff can document the @180 offenders that he was assigned to while even an
experienced probation officer might see less than 100; and in his division based on the
high risk nature of the type of offender that Plaintiff was assigned to limits officers to 45
assigned offenders lvloreover_1 his co-worl<ers were never was assigned the high number
of high level offenders as the Plaintiff This clearly constitutes a materially adverse
employment action as it ultimately led to his termination

Other issues were of disparaging treatment are in this case, refer directly to
Erlinda Flansaas, who was hired on the exact same date of November 14, 2008, they were
supervised by the same supervisor, Barbara Romero, and they worked for the same
division of the State of New Mexico, Department of Correction within the same division
of the Probation and Parole Department Plaintiff and l\/ls Flansaas were hired for the
same position in the same division with the same listed job duties and up to the time of
his termination they both carried the same employee status Tlie only difference being
she was a young, Hispanic female and Plaintiff was an older, Black (African American)
male; also note that Plaintiff was not hired by Barbara Romero, but another supervisor in

a different department

(2) Supporting Facts:

Disparity of treatment between treatment of an age 43/ older Black employee, (
Delbert Jenkins) and other employees within the l\lew Mexico Men’s Recovery f Ft.
Stanton division From the first week of employment Plaintiff noticed that he was being

treated differently than his co-workers and his supervisor, who were Hispanic females

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The incidents are far too numerous to mention each and every instance, however the
behavior continued the entire length of his employment with the Department of
Corrections, Probation & Parole Department

Example l: Plaintiff was orally reprimanded for be in an office alone with a male
or female offender at any time. Plaintiff was informed of this policy and immediately
corrected any instance when the offenders entered the office and closed the door behind
them. ln contrast, Plaintiff s co-workers and his supervisor met on hundreds of occasions
individually with male and female offenders without consequence The behavior was so
ingrained in the department that they would automatically enter any office and close the
door behind them, prior to and during his tenure with the Probation & Parole Department
and they had been doing so for such a long time that it required constant vigilance,
reminding and corrective action to deter the offenders from closing the door behind them
without thinking Moreover, while Plaintiff was reprimanded up for this behavior (and it
is listed in his termination letter,) his co-worker met with virtually all of the male and
female offenders {she was Hispanic female} the entire twelve months of their
employment in either the Fort Stanton Program and with females in the New Mexico
Wornen’s Recovery Academy alone in her office or other people’s offices alone with the
door closed She was never warned or advised that this was an issue. [Evidence e-mail
and offender / staff testimony]

Example 2: In lanuary of 2009, Plaintiff was written up because he used the
restroom in our office, because his supervisor and co-workers felt “uncomfortable” with
me using the same restroom as they used Plaintiff tried to talk to his supervisor and

explain that at the time since the facility was an all female program that he felt that by

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him using an unmarked restroom without a lock in the public area of the program was a
negligent choice, and that it was were inviting issues against Plaintiff by doing so. Prior
to me being able to fully elaborate on his concems, she wrote him up for using their
restroom, which was located in the office that all four of them shared Plaintiff was
reprimanded and not allowed to discuss his concerns with his supervisor. When Plaintiff
requested a copy of the write-up, she refused When Plaintiff requested an opportunity to
address the issued raised _he was told to sign the write-up and that Plaintiff would be
allowed to address his concerns to the Director of the Region, Gary Carson, in a meeting
that was to be held within a few days ln the interim, Plaintiff chose not to use the
unsecured restroom in the hallway of the women’s training area, but to use either the
restroom that was locked most of the time in the program manager’s office or to walk 300
yards and use a restroom located at the regular supervision Los Lunas Probation Office.

When Plaintiff met with Mr. Carson, Regional lvlanager of Region ll special
programs, he explained his situation and proposed and alternative plan for use of the
restroom of using the restroom in the program manager’s office with her approval.
Plaintiff was unaware that his supervisor intended to have him fired for using the same
restroom as her and his co-workers, until Plaintiff received the contents of Ms Romero’s
“Secret soft file” that showed that she found the thought of Plaintiff using the same
restroom as herself so offensive that it was her intention to have him fired in January of
2009. [Evidence - letters & e-mails]

Example 3: Working Conditions; Plaintiff did not receive a work area or desk
until late July of 2009. His coworkers were given traditional desks and fully functioning

computers from March of 2009. When Plaintiff worked in the office at the NMWRA he

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was allowed to work on a “square ironing board type” of table. The other days of the
week Plaintiff was required to travel to the town of Bernalillo, or to Albuquerque “Gold
Office”, to “The Farm” { level 4 correctional facility} in lLos Lunas and later at the Los
kunas regular supervision office. All travel to and from these other offices were at his
own expense and any additional travel time was during his own time. [Evidence H E-
mails]

Further, from the months of March through November of 2009 Plaintiff had a
case load of offenders that was two to three times the amount that were carried by his
Hispanic female co-workers. His case load went as high as 160+m offenders where as the
position mandated that no more than 45 offenders be handled by one officer. The highest
case load that his co-workers handled was 60 offenders To further illustrate the point,
Plaintiff received written reprimands for not keeping up with this case load, while his
fellow officers were further behind than him in entering case notes and received no
negative commentary [Evidence - e--rnails & case load lists]

Example 4: Pe.rformance lmprovement Plan; Plaintiff was ordered to enter into a
PlP which among the numerous requirementsj which all of them were met by him except
one condition Barbara Romero stated that Plaintiff had not written sufficient follow-up
notes, to the follow-up notes, concerning those offenders that had gone to the doctor and
subsequently returned to the program. Plaintiff’ s supervisors Barbara Romero and
Michael Estrada, requested that Plaintiff write-up notes on the diagnosis and treatments
on these offenders, when Plaintiff was not privy to these items from the hospital or
treating physician This practice was also in violation of HIPAA laws and rules The

entering of this information in the CMIS system was a violation of HIPAA.

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ln contrast Plaintiff"s co-workers seldom mentioned that their offenders went to
the doctor in their case notes, let alone the fact that they had been treated in any way.
Moreover, routine notes for them amounted to one or two abbreviated sentences that were
often as late as six to eight weeks from the prior entry. Plaintiff, however, was written up
repeatedly for not entering a paragraph plus worth of data within a week of prior entry.
[Evidence e-mails + Cl\/llS data]

Example 5: Computer access Plaintiff was reprimanded for not keeping timely
entered computer information, for not remaining current on all of his files Plaintiff did
not receive a fully functioning computer or even a desk until the middle of September of
2009. His co-workers and supervisor had fully functioning computers from l\/larch of
2009. l-lence Plaintiff had to travel to Bernalillo, Albuquerque, and other Los Lunas
locations to use a computer. His co-workers could work from the office, take their lap-
top home on weekend or evening etc. [Evidence e-mail] _

Example 6: Conveyance of information and correction of behavior When his co-
workers made a mistakel they were told “no problem, let me show you later how to do
that,” then they were given an opportunity to correct the behavior, they received this
additional training when Plaintiff was required to be out of the office. However, if
Plaintiff made any errors in operation or judgment, he was written-up secretly. Notes
were made in a soft iile, and not only did they fail to advise him that he had made an
error, this information was withheld from Plaintiff until February of 201 0. Not only was
he not allowed to address or change the behavior he was unaware there were any issues,
despite his repeated requests for clarifications or information on procedures policies or

practices to his supervisor.

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Example 7: Altematively, Plaintiff was dismissed allegedly because, he was
unable to keep up with input of data and follow-up data in the CMIS System and in his
overall handling of his case load Plaintiff completed his review and of his Employee
Evaluation in which he received an “Achieves in all categories” except in ‘“entering
follow-up on critical incidents being entered in cited notes.” The only “follow-up” notes
not entered were medical treatment and diagnosis information that an offender / patient
had received from his doctor. To enter these notes would have been in violation of
HIPPA laws.

Example 8: Disparaging / overtly heavy case load During his ll+ months with
the Dept. of Corrections, Probation & Parole Dept. Plaintiff was responsible for two full
case loads, which would normally require two full time probation & parole officers ln
addition, there was a few month time period where Plaintiff was handling the case load of
three people, his typical two person case load and then the case load of a third person on
maternity leave in a different probation office. l\/loreover, he did so without a computer
to utilize fulltime. Plaintiff was also required for several months to travel to several
different offices to utilize office, desk and computer space and still maintain standards of
work higher than his co-workers Finally, Plaintiff did not receive a computer that had
full access to department network and software until late September of 2009.

In contrast his Female / Hispanic co-workers had office space in early 2009, and a
lap top computer with full access to all department resources Further, when a new
female / Hispanic officer was hired in June of 2009, she immediately was issued a desk
and a computer with full access to all department network sources and software within

two weeks During this time, Plaintiff remained without a fully functioning computer

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until late September. The only difference between Plaintiff and his co-workers was he
was a black, male, age 42; and they were Hispanic, female aged in their twenties
Plaintiff was constantly being harassed by his supervisor for not getting his work done.
When Plaintiff reminded his immediate supervisor of the lack of resources, especially the
computer, he was either ignored or was told “they are working on it.”

Furthermore, when his immediate supervisor Barbara Romero, transferred cases
to him, from his younger, female, Hispanic co-workers these cases had not been updated
in the system for up to 6 weeksJ while Plaintiff was being harassed reprimanded and
ridiculed for not keeping his cases up to date by a week or less; his-co-workers were more
than a month behind Furthermore, there were reports that were not being filed and
release documents, arraignments and deadlines that were not being met by his younger /
Hispanic co-workers. Their clients were approaching Plaintiff to correct release dates,
approve travel permits secure medical treatment, etc. and he was ordered to assist them
as needed and they knew it would cause delays in his own work load Plaintiff managed
to keep his case load caught up and to maintain this level throughout the last few months
of his employment as shown on his employment review. ln contrast his female /
Hispanic co-workers were allowed to remain up to six weeks behind in their work and
were never reprimanded and in fact continued their employment with the state for an
indefinite future.

Examplc 9: Plaintiff was reprimanded on April 29, 2009. He was given an Oral
Reprimand for working extra hours “Working overtime without permission, with the
knowledge of your Court Commitments the following day and would put you over 40 hrs

without the possibility of taking flex time.” Plaintiff was terminated in part for working

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extra, when he had no control over the length of courtroom procedures When Plaintiff
attempted to respond he was told that this was not her decision and that people above her
had forced her to discipline him. {Michael Estrada & Charlene Knipfing} Plaintiff tried
to remind her that part of the extra hours was working with New Mexico State Police in
testing an unknown substance that initially tested positive for cocaine that was found in a
package at the Fort Stanton facility. She stated that she knew, but this wasn’t entirely her
decision and that there were forces beyond her control at work on this instance {ln
reference to Charlene Knipfmg and l\/lichael Estrada}

Moreover, when asked the prior Friday by Ms. Romero, “was I going to be able to
leave on flextime early enough‘?” Plaintiff responded that it does not appear that he
would but he did not want to cause any trouble, he offered to work for free or donate his
time to the state, so that he did not miss his court appearance Ultimately, Plaintiff was
unable to take the hours due to a court appearance Plaintiff was paid overtime and was
then given an “Oral Reprimanded on April 29, 2009” for working those hours. The fact
that he produced his proposed schedule at the start of every week should have been
sufficient prior approval Finally, since Plaintiff was handling as many as 160+ offenders
or nearly three full caseloads, should have received some flexibility or communication
other that being written up and ultimately fired. During this time his co-workers worked
additional hours and were never reprimanded and also were allowed to use their flex time
any time they wanted where as Plaintiff was required to use his flex time in the same
week that it was incurred

Exarnple 10: Direct Evidence of Racial Threats & Discrimination. In September

of 2009 Plaintiff received a Death Threat from an unknown party, at the Los Lunas

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facility. On that day, his supervisor, Barbara Romero and his Co-Workers from the New
Mexico Women’s Recovery Program were in one of their secret meetings At`ter their
meeting they covertly left the office and went elsewhere on the property, as their vehicles
remained on property They were gone from the office for an unknown period of time.
Plaintiff had received some phone messages for his supervisor, Barbara Romero. Plaintiff
states that he knew they had returned because he could hear them laughing in the office
next door so he went to the office and knocked on the door to deliver l\/ls. Romero her
messages

When given permission to enter Plaintiff entered and observed inside the office
that Barbara Rornero, Erlinda Flansaas, and Faye Gillespie laughing and joking in a
friendly manner as usual. Plaintiff delivered the messages and began to leave, when Faye
Gillespie asked Barbara Romero, “should we tell him?” Supervisor Romero responded “l
don’t care, if you want. . .yeah go ahead.” At that time Plaintiff asked “what’s going on?”
Erlinda Flansaas responded with a chuckle. . .”they left a message for you in one of the
dorms.” Plaintiff asked which one as there are several; she responded one of the middle
ones, and to go take a look.

Plaintiff began a search of the dormsby himself and after an extensive search
discovered the following sign on the back of one of the dorm room’s doors, “187 on a
Nigger.” Plaintiff took a picture of the item with his cell phone and made note of whose
room the item was located Plaintiff then returned to the office and requested that he be
allowed to conduct an investigation into the source of the sign. The meaning of the sign
is clear to those with either a “street” background or law enforcement background that

187 in law enforcement radio code often means murder .. the rest was obvious based on

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the historical and current use of the term nigger to refer to a black person. Plaintiff was
the only black (African American) person on that staff, was most likely the target of that
threat. There were possibly l or 2 black residents in other dorrns. Either a threat of this
type,_to a resident or to himself, should have been taken extremely seriously.

Plaintiff began to conduct an investigation with the residents of the dorm room
where the sign was found He did so in the presence of his supervisor and co-workers in
his supervisor’s office After questioning, both residents stated that they did know about
the sign, but did not know who put the sign up. Plaintiff stated that since it was in their
room and they knew about it_, they would be placed in custody until the investigation was
complete He placed the two subjects in handcuffs for officer safety and possible
transport l

Subsequent questioning after the residents were placed in handcuffs presented
testimony that a prior resident had placed the sign in the room prior to departure At that
point, when the name was mentioned his co-workers immediately took over the
investigation and subsequently his supervisor stated that she would take care of the
investigation and ordered the two residents be released Plaintiff did so at her direction.
He was never advised of the outcome or any other steps which were taken in pursuant to

that investigation

C)(l) Count III: Retaliation

The State of New Mexico, Department of Corrections fired, harassed and
otherwise “retaliated” against Plaintiff because he complained to his employer about

discrimination on the job.

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(2)Supporting Facts:

After repeated Request for meeting with Plaintiff"s immediate Supervisor Barbara
Romero’s, Supervisor and the Program Manager, Michael E-strada. Plaintiff was finally
granted a meeting in .lune of 2009. Among the many issues raised about how to be a
better employee and how to communicate with his immediate supervisor Barbara
Romero, Plaintiff expressed concern over the conflicting messages that he was receiving
from her.

In addition, Plaintiff expressed concern over the disparaging treatment that he
received from his supervisor that differed from his co-workers. Mr. Estrada dismissed
this as differences between the two programs of New lvlexico Men’s Recovery Program
and the New Mexico Women’s Recovery Program. Plaintiff also expressed some
concern that his supervisor appeared to have issue with communicating with Plaintiff, to
the point that he felt l\/ls. Romero had a personal or other issue with Plaintiff, but at the
time was unsure of the source of the discriminatory or differential treatment that he was
receiving.

Mr. Estrada informed Plaintiff that he would communicate this and his other
concerns with Ms. Romero. This occurred despite the fact that Plaintiff was immediately
concerned that he would be on the receiving end of additional hostile acts and behaviors.
Not only did the hostile and discriminator acts continue after Plaintiff’s meeting with Mr.
Estrada, they intensified After the meeting, Ms. Romero began to limit which offices

that Plaintiff was allowed to work out of, even though he continued to function with out

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an office, computer or training She completely refused to communicate with Plaintiff
other than to criticize work product, accuse him of miss deeds, or to assign more work.

In addition, Plaintiff began to hear from his clients/ offenders that l\/ls. Romero
and his co-workers Erlinda Flansaas and Faye Gillespie, were conducting
“investigations” about Plaintiff and any potential misdeeds that he may have made This
approach was taken to the extreme when clients were offered early release if they would
make a statement about fabricated incidents or infractions made by Plaintiff.

Further, those offenders that were seen as friendly to Plaintiff were targeted as
trouble makers within the Ft. Stanton and later the NMMRA and ultimately had their
Probation or Parole violated They were charged and later dismissed for threatening
other residents of the program, discovered with “weapons” [often construction materials
from making repairs to the buildings in Los Lunas]. They utilized their own testimony
and bribed / bartered testimony from other residents of the program, by granting them
early release or extended furloughs

Despite this behavior and the continued hostile work environment Plaintiff
continued working diligently in his position L-ater, he began to receive anonymous
death threats “187 on a Nigger” and received reprimands for working extra or for
conducting practices that had been established previouslyl Plaintiff was also placed on a
“Work lmprovement plan” that despite the fact that he ha'd no computer and had met all
of the listed deficiencies that his co-workers still did not have to meet. The “Work
lmprovement Plan” was amended every week, and an additional duties i“ deficiencies
were added so that Plaintiff could not meet all of the requirements, as in the instance of

been advised of the need to make additional follow-up notes to his follow-up notes

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concerning hospital visits when Plaintiff had been previously advised not to include
medical / private information to CMIS. This was also different from what was being
completed by any other probation officer and specifically those operating within the same
program

Ultimately, Plaintiff was terminated despite his positive review and for items and
actions that were false lt also appears that in February of 2010 when Plaintiff received a
copy of the “soft file” after grieving for said information that it was his supervisor, Ms.
Romero and the Program Manager, l\/lichael Romero’s intent to have him fired in January
of 2009. The regional Director Gary Carson did not agree with this movement to fire him
without cause However, after Regional Director Gary Carson retired in August of 2009,
they used his vacancy to terminate him in retaliation for his assertions of differential
treatment and discrimination

Plaintiff also notes that there was an intensification of mistreatment by his
immediate supervisor, Barbara Romero after he met with her supervisor, and Program
Manager Michael Estrada and discussed his concerns of disparaging and / or inconsistent
treatment by his immediate supervisor, (Barbara Romero).

After that meeting two things happened One, Plaintiff’ s immediate supervisor
began maintaining a “Secret Soft File,” of issue in which Plaintiff was being reprimanded
and “wamed” for certain behavior, without disclosing these issues to Plaintiff or even
making him aware that his performance in duties, was not to her preference And when
Plaintiff asked for training, feedback, questions of procedures and priorities, his requests
was ignored, and this file was used block transfers within the department, to new jobs, to

deny him unemployment after his termination

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Further, Plaintiff was unaware of the increased level of retaliation in some sense
of the word but keenly aware of disparaging treatment The full extent of hostile
treatment remained secret, until Plaintiff received a copy of this information in February
of 2010. Finally, there were no written grounds other than the dismissal letter in his
Personnel File even two months after his termination that addressed the issues for which
Plaintiff was supposedly terminated Further it should be stated that a grievance process
had to be filled and pursued for several months to receive any type of documentation that
addressed the grounds for his termination Additionally, the State of New Mexico,
Department of Correction’s Grievance procedures and policies required that, no '
discrimination or EEOC type issues be raised in a grievance process, hence, his
supervisor was aware of the beginning of his claims through the chain of command and
began the intensification of her discriminating actions because of the initiation of that

communication

D)(l) Count IV: Sex-Based Discrimination

Sex discrimination involved the treatment of the Plaintiff unfavorany because of his sex
as a male The law forbids the State of New Mexico, Department of Corrections
discrimination against Plaintiff during his employment, including firing, job assignrnents,
promotions, fringe benefits, and other conditions of employment Finally Plaintiff was
also subjected to Sex Discrimination Harassment via verbal harassment by offensive
remarks about Plaintiff s sex. The harassment was frequent or severe during the entire

term of employment and thus created a hostile or offensive work environment The

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harasser was the Plaintiff‘s supervisor (Barbara Romero), and Plaintiff`s co-worker,

(Erlinda Flansaas).

(Z)Supporting Facts:

Sex Based Harassment In addition to the racial statements that were made and
sanctioned The most grievant behavior was allowed overheard and by her refusal to
correct or admonish these types of statements made by her employee Barbara Romero,
supervisor for the New Mexico l\/len’s & Women’s Recovery Academies, knew of and
sanctions the below listed comments that were made repeatedly by female co-worker_,
Erlinda Flansaas. The comments were made repeatedly and frequently from November
of 2008 till November of 2009. Due to the frequency of use, weekly to several comments
made in a single day each instance is not documented not is each variation of phrases
The comments were made about Plaintiff, male residents, male duty officers, and even

male relatives of male or female residents The comments include the following;

“Do what 1 tell you or I’ll put his foot in your ass. . .l’ll treat you like a little bitch.”

“Oh he thinks he is tough, ...well give him to me l will take care of him. .. l can fix any
man . .and put him in his place.”

“l can go from zero to bitch in one second flat and put any man in his place.”
“If you don’t do what I tell you to do, then I will treat you like a little boy.”

“I hate men and their stupid crap”
“You men are all the same . .idiots”
“Men are stupid”

“These men are all stupid”

“l hate men and their crap”

“Men are retarded”

“I am sick of men”

“Men are useless”

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“l hate anything with a penis”
These are a sampling of the type of statements made to, about, and around Plaintiff.
These statements were made to Plaintiff and to male residents of a treatment facility.

These statements were offensive, threatening and demeaning

E)(l) Count V: Age Discrimination

Age discrimination involved the treating of the Plaintiff less favorably because of
his age Pursuant to the i’-‘ige Discrimiriation in Employ;inent Act {ADEA), l am
forty-five years of agc. 'l`he State of New h/.lcxico discriminated against Plaintiff in
the following areas of employment including hiring, firing, pay., job assignmen'ts,

promotions, training fringe benefits, and other conditions of employment

Furtliemiore_, Plaintiff was harassed because of his age 'l"lie harassment
included offensive remarks about a Plaintiffs age Addi_tionaily, the harassment
results in an adverse employment decision ofh_iring, transfer, exclusion from
training and ultimately termination Fl`he harasser were Plaintiff`s immediate
supervisor, (Barbara Romero}i the program manager (lviichael Estrada), and co-

workers, t`i§§rl'inda lilansaas & i"aye Gi|cspie_}.

(Z)Supporting Facts:

After several months with the State of New Mexico, Department of Corrections,
Plaintiff was required to attend their Probation & Parole Officer Basic Training Class.
During which, it was made clear that “older” officers would have difficulty in completing

the physical portion of the training and that ultimately that was the purpose of the

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severity of the training. Despite this fact, in March of 2009, Plaintiff successfully
completed the Department of Corrections, Probation and Parole Officer Basic Training
Course and was the oldest of those that had successfully completed the course All that
was remaining was completion of the l week firearms certification training to be held
later in 2009. Plaintiff requested approval from his immediate supervisor, and the Region
Manager, Gary Carson for approval and authorization to take the Firearms Certification
training. Plaintiff received immediate approval to take the training, from Barbara
Romero and from the Region 2, Special Programs l\/lanager, Gar_v Carson

However, when the training was offered in Noveinber of 2009, and Plaintiff
requested to attend the training, he was refused `to be allowed to attend the training or to
even begin the process by Michael Estrada, the Program Manager. Despite his prior
agreements and despite his prior approval by the Region Manager, Gary Carson

Plaintiff made application for the following positions in different offices of the
Probation and Parole Department, 4 applications to the Sex offender Unit in
Albuquerque, 2 applications to the Intensive Supervision unit in Albuquerque, 2
application to the Probation & Parole office in Rio Rancho, 2 applications to the Call
Center in the Albuquerque PPO office, 1 application to the Roving PPO position in the
Albuquerque Region 2 office Plaintiff never even received a second interview for any of
the listed positions during his tenure with the Probation and Parole Department

Of the numerous applications made by Plaintiff to different positions within the
department, he discovered none of these applications or interviews or were there any
indications-of his applying to these positions in his permanent personnel file by

December of 2009. No indications, notations or referenced were made to his official

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personnel file, during or after his application for any of these interdepaitmental
applications Since a log is kept of people who have had access to the personnel file, and
that the log does not show any of the interviewing managers or other department
personnel have reviewed or inspected the items in his Perinanent Personnel File. lt seems
that all references were made to the “secrete soft file” that was held by his immediate
supervisor Barbara Romero or by the Program Manager Michael Estrada, unbeknownst to
Plaintiff. Plaintiff was unaware of the secret soft file until December, 2009. Written
request was made for this file in December 2009, January 2010, and February 2010, at
that time, some of the contents were forwarded to Plaintiff in mid February, 2010.
Finally, Plaintiff began to become suspect of the fairness of the Probation &
Parole’s hiring / transfer practices when he applied to the two Probation & Parole Officer
positions in the Rio Rancho PPO. Before the position was listed he sent an E-mail letter
of interest to the Rio Rancho Office manager, Aubyn Roades. Plaintiff based the
possibility of the opening on the announcement that two of the officers were leaving from
that office Several weeks later, the Department roster showed that two probation
officers had been hired for that position Plaintiff noted that there was never an
announcement inviting officers to apply to those positions Plaintiff then sent a second e-
mail to Aubyn Rhoads, the Rio Rancho Branch Manager and asked why he had not even
been considered or offered an opportunity to apply for the position Plaintiff received no
response from him at that time l~loweve.r, a few days later Plaintiff was advised without
notice that he was to interview for some open positions within the department, via
teleconference from the Los Lunas Standard Supervision Probation & Parole Office

During that process Plaintiff asked three times what-position that he was interviewing for,

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as it was unclear what he was interviewing for or even who Plaintiff was interviewing
with. After the interview started Plaintiff noticed that l\/lr. Rhoads the Manager from Rio
Rancho, turned off his camera and monitor. Despite this farce that interviews were being
held for those two positions in Rio Rancho, the original two hires remained and the
interview process was only an after thought to cover their lack of following procedure or
their continued refusal to hire or transfer older probation officers to certain probation &
parole offices

Finally, there were numerous comments and internal office issues and situations
that were based on either race, or age or both that are incorporated with the supporting
facts under the racial discrimination supporting facts and arguments [Evidence via e-

mail & letters]

D) PREVIOUS LAWSUITS AN]) ADMINISTRATIVE RELIEF

1) I have previously sought informal and formal relief from the
appropriate administrative officials regarding the acts complained of in
Part C. Yes [§] No L] _ If your answer is “Yes”
briefly describe how relief was sought and the'results.

2) Relief sought through the Department of Corrections, via chain of

command: 'Result Harassment and Termination.

3) Z"d Relief sought through the Department of Corrections Grievance

Process: Result support of the previous determination

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4) 3rd Relief sought EEOC: Notice of Right to Sue - Issues

undetermined by the Agency

E. REQUEST FOR RELIEF

I believe that I am entitled to the following relief: Monetary compensation for lost
wages, benefits and retirement Monetary compensations for lost wages from
unemployment and the use of illegal and discriminatory employment reviews
Monetary compensation for compensatory and punitive Damages from the listed
Defendants, jointly and severally liable for the sum of One-Million Dollars

(81,000,000).

 

 

De ert Jenkins
4004 Saint Andrews Dr.
Rio Rancho, NM 87124
(505) 896-0940

DECLARATION UNDER PENALTY OF PERJURY

 

 

 

 

 

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I, the undersigned, declare under penalty of perjury that he is the
plaintiff in the above action, that he has read the above complaint an
that the information contained therein is true and correct. 28 U.S.C.

Sec. 1746. 18 U.S.C. Sec. 1621.

Executed at: On 2011
(Location) (Date)

 

(Signature)

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